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                      UNITED STATES ISTRICT COURT FOR THE
                                                                                     FILED
                           EASTERN DISTRICT OF TEXAS                                     JUL 0 9 2019
                                                                                    Clerk, U,S. Disc 'let Court
                                                                                          Te as Eastern
   CRAIG CUNNINGHAM,
   Plaintiff,




   AB Solution Processi g, LLC, dba Guardian
                                                         4n
   Legal Processing, Belynda Romanelli,
   Dominus Law and Recovery, LLC, Winston
   Lanier John/Jane Does 1-4


   Defendant




                                Plaintiffs Original Complaint


                                             Parties

   1. The Plaintiff is Craig Cunningham and natural person and was present in Texas for all

      calls in this case in Collin County.

   2. AB Solution Processing, LLC, dba Guardian Legal Processing is a Florida

      corporation and can be served via registered agent and corp officer Belynda

      Romanelli, 4846 Cardinal Blvd., Jacksonville, FL 32210

   3. Belynda Romanelli is a natural person who can be served at 4846 Cardinal Blvd.,

      Jacksonville, FL 32210

   4. Dominus Law and Recovery, LLC is a Florida corporation and can be served via

      Belynda Romanelli, Registered agent, 4846 Cardinal Blvd., Jacksonville, FL 32210

   5. Winston Lanier is a natural person and licensed Florida attorney who can be served at

      4846 Cardinal Blvd., Jacksonville, FL 32210
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   6. Joh /Jane Does 1-4 are other liable parties currently unknow to the Plaintiff.

                                  JURISDICTION AND VEN E

   7. Jurisdiction. This Court has federal-question subject matter jurisdiction over

       Plaintiffs TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal

       statute. Mims v. Arrow Fin. Serv ., LLC, 565 U.S. 368, 372 (2012). This Court has

       supplemental subject matter jurisdiction over Plaintiffs claim arising under Texas

       Business and Commerce Code 305.053 because that claim: arises from the same

       nucleus of operative fact, i.e.. Defendants telemarketing robocalls to Plaintiff; adds

       little complexity to the case; and doesn’t seek money damages, so it is unlikely to

       predominate over the TCPA claims.

   8. Personal Jurisdiction. This Court has general personal jurisdiction over the

       defendant because they have repeatedly placed calls to Texas residents, and derive

       revenue from Texas residents, and the sell goods and services to Texas residents,

       including the Plaintiff.

   9. This Court has specific personal jurisdiction over the defendants because the calls at

       issue were sent by or on behalf of the defendants.

   10. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(l)-(2)

       because a substantial part of the events giving rise to the claims the calls and sale of

       goods and services directed at Texas residents, including the Plaintiff occurred in

       this District and because the Plaintiff resides in this District, residing in the Eastern

       District of Texas when he recieved a substantial if not every single call from the

       Defendants that are the subject matter of this lawsuit.

    11. This Court has venue over the defendants because the calls at issue were sent by or on
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       behalf of the above named defendants to the Plaintiff a Texas resident.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. §

       227

   12. In 1991, Congress enacted the TCPA in response to a growing number of consumer

       complaints regarding telemarketing.

    13. The TCPA makes it unlawful to make any call (other than a call made for emergency

       purposes or made with the prior express consent of the called party) using an

       automatic telephone dialing system or an artificial or prerecorded voice ...to any

       telephone number assigned to a ... cellular telephone service. 47 U.S.C. §

       227(b)(l)(A)(iii).
   14. The TCPA makes it xmlawful “to initiate any telephone call to any residential

       telephone line using an artificial or prerecorded voice to deliver a message without

       the prior express consent of the called party, unless the call is initiated for emergency

       purposes, is made solely pursuant to the collection of a debt owed to or guaranteed by

       the United St tes, or is exempted by rule or order of the Federal Communication

       Commission (“FCC”), 47 U.S.C. § 227(b)(1)(B).

   15. The TCPA provides a private cause of action to persons who receive calls in violation

       of § 227(b). 47 U.S.C. § 227(b)(3).

   16. Se arately, the TCPA bans making telemarketing calls without a do-not-call policy

       available upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).1

   17. The TCPA provides a private cause of action to persons who receive calls in

       violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).


   1 See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
   (codifying a June 26, 2003 FCC order).
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    18. According to findings of the FCC, the agency vested by Congress with authority to

       issue regulations implementing the TCPA, automated or prerecorded telephone calls

       are a greater nuisance and invasion of privacy than live solicitation calls and can be

       costly and inconvenient.

    19. The FCC also recognizes that wireless customers are charged for incoming calls

       whether they pay in advance or after the minutes are used. In re Rules and

       Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Red. 14014,

       14115 f 165 (2003).

   20. The FCC requires “prior express written consent” for all autodialed or prerecorded

       telemarketing robocalls to wireless numbers and residential lines. In particular: [A]

       consumer s written consent to receive telemarketing robocalls must be signed and be

       sufficient to show that the consumer: (1) received clear and conspicuous disclosure

       of the consequences of providing the requested consent, i.e., that the consumer will

       receive future calls that deliver prerecorded messages by or on behalf of a specific

       seller; and (2) having received this information, agrees unambiguously to receive

       such calls at a telephone number the consumer designates. In addition, the written

       agreement must be obtained without requiring, directly or indirectly, that the

       agreement be executed as a condition of purchasing any good or service.

    21. /n the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

       1991,27 FCC Red. 1830,1844133 (2012) (footnote and internal quotation marks

       omitted). FCC regulations “generally establish that the party on whose behalf a

       solicitation is made bears ultimate responsibility for any violations. In the Matter of

       Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10 FCC
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       Red. 12391, 123971 13 (1995).

    22. The FCC confirmed this pri ciple in 2013, when it explained that a seller ... may be

       held vicariously liable under federal common law principles of agency for violations

       of either section 227(b) or section 227(c) that are committed by third-party

       telemarketers. In the Matter of the Joint Petition Filed by Dish Network, LLC, 28

       FCC Red. 6574, 657411 (2013).

    23. Under the TCPA, a text message is a call. Satterfield v. Simon & Schuster, Inc., 569

       F.3d 946, 951-52 (9th Cir. 2009).

    24. A corporate officer involved in the telemarketing at issue may be personally liable

       under the TCPA. E.g., Jackson Five Star Catering, Inc. v. Season, Case No. 10-


        10010, 2013 U.S. Disk LEXIS 159985, at *10 (E.D. Mich. Nov. 8,2013) (£ [M]any

       courts have held that corporate actors can be individually liable for violating the

       TCPA where they had direct, personal participation in or personally authorized the

       conduct found to have violated the statute.” (internal quotation marks omitted));

       Maryland v. Universal Elections, 787 F. Supp. 2d 408,415 - 16 (D. Md. 2011) ( If

       an individual acting on behalf of a corporation could avoid individual liability, the

       TCPA would lose much of its force”).

                        The Texas Business and Commerce Code 305.053

    25. The Texas Business and Commerce code has an analogus portion that is related to the

       TCPA and was violated in this case.

    26. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

       subchapter A and seek $500 in statutory damages or $1500 for willful or knowing

       damages.
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                                   FACTUAL ALLEGATIONS

   27. Rachel with Card Services is the bane of the existance of many consumers. These are

      calls long since prosecuted by the FTC that make fraudulent, misleading, false

      promises and exaggerated claims to consumers. These scams have taken place for

      years and continue to this day.

                  Alleged calls to the Plaintiff and violations of 47 USC 227(b)

   28. Mr. Cunningham received multiple calls from a variety of spoofed caller ID s that

      contained a pre-recorded message and were initiated using an automated telephone

      dialing system. The calls were on behalf of each of the defendants in this case

      offering their products/services as a result of the calls. The calls had a delay of 3-4

      seconds of dead air before the pre-recorded message began indicating the calls were

      initiated using an ATDS. The Plaintiff recieved calls on behalf of these corporations

      by 3rd party telemarketers for both direct and vicarious liability in this case.

   29. The Plaintiff recieved multiple calls from multiple spoofed and non-working caller

      ID’s all designed to trick consumers into picking up the phone by using false,

      misleading, and fraudulent caller ID’s that include the first 6 digits of the Plaintiffs

      phone number at issue also known as local area spoofing. These calls were not related

      to an emergency purpose and were placed without the Plaintiffs consent.

   30. One call was from 615-831-2430 to 615-348-1977 on July 8,2019 and contained a

      pre-recorded message and was initiated by an automated telephone dialing as

      indicated by a 3-4 second delay of dead air when the call first connected.

   31. The defendants called at least 6 times on in total on July 8,h and 9th 2019. The

      Plaintiff used a pseudonym of Greg Lloyd in answering the call and recieved
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       paperwork attached as Ex ibit A detailing the services of AB Solution Processing,

       LLC, dba Guardian Legal Processing

    32. Upon further conversation with the representative who had a thick foreign accent and

       sounded as if he was calling from overseas, the Plaintiff was transferred live to a

        verification rep and then finally to an agent who stated he was with Guardian Legal

       Processing selling the legal services of Winston Lanier and Dominus Law and

       Recovery, LLC.

    33. The Defendants knew full well that overseas telemarketers were placing calls on

       their behalf to consumers across the country pitching debt relief services by overseas

       telemarketers which was initiated using an automated telephone dialing system and

       contained a pre-recorded message.

    34. Mr. Cunningham has a limited data plan. Incoming text messages chip away at his

       monthly allotment.

    35. Mr. Cunningham has limited data storage capacity on his cellular telephone.

       Incoming calls from the defendants consumed part of this capacity.

    36. No emergency necessitated the calls

   37. Each call was sent by an AIDS.

        Knowing and Willful Violations of Telemarketin Regulations 47 USC 227(c)(5)

   38. Mr. Cunningham asked for an internal do-not-call policy and was not provided with

       one, thereby indicating Defendants knowingly violated the TCPA by initiating

       automated calls with pre-recorded messages to the Plaintiff without maintaining an

       internal do not call policy in violation of 47 CFR 64.1200(d).

   39. The Defendants never sent Mr. Cunningham any do-not-call policy in violation of 47
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      CF 64.1200(d)(1)

   40. The Defendants placed telemarketing calls without having a written do-not-call

      policy in place to Mr. Cunningham in violation of 47 CFR 64.1200(d)(1)

   41. The Defendants placed telemarketing calls to the Plaintiff without training their

      agents engaged in telemarketing on the existence and use of any do-not-call list in

      violation of 47 CFR 64.1200(d)(2)

   42. The defendants placed telemarketing calls without identifying themselves or the party

      they were calling on behalf of and falsely claimed they were with Visa or Mastercard

      in violation of 47 CFR 64.1200(d)(4)

      Belynda Romanelli and Winston Lanier s Control over the telemarketing calls

      Robocallin and Telemarketing

   43. At all times relevant to the claims alleged herein, Belynda Romanelli and Winston

      Lanier were the sole corporate of icers and executives in charge of their respective

      corporations. Each and every call was placed on behalf of the corporate entites owned

      by John Wilhelm.

   44. Belynda Romanelli and Winston Lanierwas aware that calls were being placed by or

      on behalf of his company, via automated, telemarketing calls en masse to people,

      including Plaintiff.

   45. As Belynda Romanelli and Winston Lanier were the senior-most executives, they

      had the power to stop these spam campaigns.

   46. As senior-most executives, Belynda Romanelli and Winston Lanier had the power to

      fire the managers and employees taking part of the day-to-day operations of these

      illegal robocalling operations.
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   47. Instead, Belynda Romanelli and Winston Lanier allowed the calls to continue and the

      responsible managers to keep their jobs despite his knowledge of frequent do-not-

      call complaints from recipients of these messages, including the Plaintiff.

                     The Plaintiffs cell phone is a residential number

   48. The text messages were to the Plaintiffs cellular phonne 615-348-1977, which is the

      Plaintiffs personal cell phone that he uses for personal, family, and household use.

      The Plaintiff maintains no landline phones at his residence and has not done so for at

      least 10 years and primarily relies on cellular phones to communicate with friends and

      family. The Plaintiff also uses his cell phone for navigation purposes, sending and

      receiving emails, timing food when cooking, and sending and receiving text

      messages. The Plaintiff further has his cell phone registered in his personal name,

      pays the cell phone from his personal accounts, and the phone is not primarily used

      for any business purpose.

              Violations of the Texas Business an Commerce Code 305.053

   49. The actions of Belynda Romanelli and Winston Lanier their corporations violated the

      Texas Business and Commerce Code 305.053 by placing automated calls to a cell

      phone which violate 47 USC 227(b). The calls by John Wilhelm and her corporation

      violated Texas law by placing calls with a pre-recorded message to a cell phone

      which violate 47 USC 227(c)(5) and 47 USC 227(d) and 47 USC 227(d)(3) and 47

      USC 227(e).

   50. The calls by Belynda Romanelli and Winston Lanier violated Texas law by spoofing

      the caller ID s per 47 USC 227(e) which in turn violates the Texas statute.
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                                 I. FIRST CLAIM FOR RELIEF

        (Non-Emergency Robocalls to Cellular Telephones, 47 U.S.C. § 227(b)(1)(A))

                                     (Against All Defendants)

            1. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.

           2. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of the TCP A, 47 U.S.C. § 227(b)(1)(A), by making

    non-emergency telemarketing robocalls to Mr. Cunningham s cellular telephone number

    without his prior express written consent.

            3. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation. 47 U.S.C. § 227(b)(3)(B).

           4. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. 47 U.S.C. § 227(b)(3).

           5. Mr. Cunningham also seeks a pennanent injunction prohibiting

    Defendants and their affiliates and agents from making non-emergency telemarketing

    robocalls to cellular telephone numbers without the prior express written consent of the

    called party.


                                n. SECOND CLAIM FOR RELIEF

           (Tele arketing Without Mandated Safeguards, 47 C.F.R. § 64.1200(d))

                                    (Against All Defendants)

           6. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.
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             7.        The foregoing acts and omissions of Defendants and/or their affiliates or

     agents constitute multiple violations of FCC regulations by making telemar eting

     solicitations despite lacldng:

                    a. a written policy, available upon demand, for maintaining a do-not-

     call list, in violation of 47 C.F.R. § 64.1200(d)(1);2

                    b. training for the individuals involved in the telemarketing on the

     existence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);3 and,

                    c. in the solicitations, the name of the individual caller and the name

     of the person or entity on whose behalf the call is being made, in violation of 47 C.F.R. §

     64.1200(d)(4).4

            8. Mr. Cunningham is entitled to an award of at least $500 in damages for

     each such violation. 47 U.S.C. § 227(c)(5)(B).

            9. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

     each such knowing or willful violation. 47 U.S.C. § 227(c)(5).

            10. Mr. Cunningham also seeks a permanent injunction prohibiting

    Defendants and their affiliates and agents from making telemarketing solicitations until

    and unless they (1) implement a do-not-call list and training thereon and (2) include the

    name of the individual caller and AFS s name in the solicitations.




    2 See id. at 425 (codifying a June 26, 2003 FCC order).
    3 See id. at 425 (codifying a June 26, 2003 FCC order).
    4 See id. at 425 - 26 (codifying a June 26, 2003 FCC order).
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             III. THIRD CLAIM FOR RELIEF: Violations of The Texas Business and

                                       Commerce Code 305.053


             11. Mr. Cunningham realleges and incorporates by reference each and every

     allegation set forth in the preceding paragraphs.

             12. The foregoing acts and omissions of Defendants and/or their affiliates or

     agents constitute multiple violations of the Texas Business and Commerce Code

    305.053, by making non-emergency telemarketing robocalls to Mr. Cunningham s

    cellular telephone number without his prior express written consent in violation of 47

    use 227 et seq. The Defendants violated 47 USC 227(d) and 47 USC 227(d)(3) and 47

    USC 227(e) by using an ATDS that does not comply with the technical and procedural

    standards under this subsection.

            13. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation.Texas Business and Commerce Code 305.053(b)

            14. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. Texas Busine s and Commerce Code

    305.053(c).


                                       IV. PRAYER FOR RELIEF

            WHEREFORE, Plaintiff Craig Cunningham prays for judgment against the

    Defendants jointly and severally as follows:

            A. Leave to amend this Complaint to name dditional DOESs as they are

    identified and to conform to the evidence presented at trial;
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             B. A declaration that actions complained of herein by Defendants violate the

    TCPA and Texas state law;

             C. An injunction enjoining Defendants and their affiliates and agents from

    engaging in the unlawful conduct set forth herein;

             D. An award of $3000 per call in statutory damages arising from the TCPA

    intentional violations jointly and severally against the corporation and individual for 30

    calls.


             E. An award of $ 1,500 in statutory damages arising from violations of the

    Texas Business and Commerce code 305.053

             F. An award to Mr. Cunningham of damages, as allowed by law under the

    TCPA;

             G. A award to Mr. Cun ingham of interest, costs and attorneys fees, as

    allowed by law and equity

             H. Such further relief as the Court deems necessary, just, and proper.




                                      7/5/2019

    Craig Cunningh m, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075
